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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA

                                 CASE NO.: 6:19-cv-00445-PGB-LRH

REVIVAL CHIROPRACTIC LLC
A/A/O JAZMINE PADIN AND
NATALIE RIVERA,

                   Plaintiff,

v.

ALLSTATE INSURANCE COMPANY
AND ALLSTATE PROPERTY AND
CASUALTY INSURANCE COMPANY,

                   Defendants.

                                       /


                   DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendants, ALLSTATE INSURANCE COMPANY and ALLSTATE PROPERTY AND

CASUALTY INSURANCE COMPANY (collectively “Allstate” or “Defendants”), file this

Notice of Supplemental Authority to bring to the Court’s attention the following recent cases, in

support of Defendant’s Motion for Summary Judgment [D.E. 28]:

     1. United Auto Ins. Co. v. Skylake Medical Center, Inc. a/a/o Giancarlo Avila, 27 Fla. L.

        Weekly. Supp. 856a, FLWSUPP2710AVIL (Fla. 11th Cir. Ct. Nov. 27, 2019) (holding that

        the language of Fla. Stat. §627.736 does not provide that there is a “floor,” or a minimum

        amount that a provider is entitled to be paid, and only addresses the “ceiling” of what a

        provider may charge). See Ex. A.

     2. GEICO Indemnity Company, et al v. Accident & Injury Clinic, Inc. a/a/o Frank Irizarry,

        et al (consolidated case nos. 5D19-1409, 5D19-1752, 5D19-2302, 5D19-2303, 5D19-2304,

        5D19-2306, 5D19-2308, 5D19-2312, 5D19-2314, 5D19-2321, 5D19-2323) (reversing the



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        circuit court’s holding that Fla. Stat. §627.736(5)(a)(5) is a statutory requirement to pay

        100% of billed amounts below the fee schedule). See Ex. B.



                                      Respectfully submitted,
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                                             Attorneys for Defendants, Allstate Insurance
                                             Company and Allstate Property & Casualty
                                             Insurance Company


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 4, 2020, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel of record identified on the attached Service List in the manner
specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
other authorized manner for those counsel or parties who are not authorized to electronically
receive Notices of Electronic Filing.

                                     /s/ Alexandra J. Schultz
                                       Alexandra J. Schultz




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